           Case 2:10-cr-00354-EJG Document 37 Filed 09/16/11 Page 1 of 3


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     Federal Defender
 2   CARO MARKS,Bar #159267
     Designated Counsel for Service
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     CLEMENTE RUEDA CRUZ
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. Cr.S-10-354 EJG
                                     )
12                  Plaintiff,       )     STIPULATION AND ORDER;
                                     )        CONTINUING STATUS CONFERENCE
13        v.                         )            AND EXCLUDING TIME
                                     )
14   CLEMENTE RUEDA CRUZ,            )
     ARMANDO GARCIA ALEMAN,          )     Date: October 7, 2011
15                                   )     Time: 10:00 a.m.
                    Defendants.      )     Judge: Hon. Edward J. Garcia
16   _______________________________ )
17        IT IS HEREBY STIPULATED by and between Assistant United States
18   Attorney WILLIAM WONG, Caro Marks, Counsel for Defendant CLEMENTE RUEDA
19   CRUZ, and Dina L. Santos, Counsel for Defendant ARMANDO GARCIA ALEMAN,
20   that the status conference scheduled for September 16, 2011, be vacated
21   and the matter be continued for a status conference/change of plea on
22   October 7, 2011 at 10:00 a.m..
23        Defense counsel received the government proposed plea agreements
24   on September 14, 2011. Having reviewed them, defense counsel need
25   additional time to discuss the proposed plea agreements with the
26   government, and to make and discuss changes in several key aspects of
27   the agreements, e.g., application of the safety valve statute, role
28   adjustments, etc. Two days is not enough time to meet and confer, so
           Case 2:10-cr-00354-EJG Document 37 Filed 09/16/11 Page 2 of 3


 1   the defense and government agree and stipulate that the court should
 2   set the matter for status conference/entry of plea on October 7, 2011.
 3        Furthermore, both defendants are incarcerated in Oroville, Ca.,
 4   and attorney-client conferences with them require the use of an
 5   interpreter. Thus, defense counsel need additional time to arrange for
 6   interpreters and to travel to Butte County to prepare the defendants
 7   for entry of plea.
 8          It is further stipulated by the parties that the court should
 9   exclude the time period from the date of this order through and
10   including October 7, 2011, when it computes the time within which the
11   trial of the above criminal prosecution must commence for purposes of
12   the Speedy Trial Act.    The parties stipulate that the ends of justice
13   served by granting defendants’ request for a continuance outweigh the
14   best interest of the public and defendants in a speedy trial, and that
15   this is an appropriate exclusion of time for defense preparation within
16   the meaning of 18 U.S.C. § 3161(h)(7)(A) and (B) (Local Code T4).
17        IT IS SO STIPULATED.
18   Dated: September 14, 2011              Respectfully submitted,
19                                          DANIEL BRODERICK
                                            Federal Defender
20
                                            /s/ Caro Marks
21                                          CARO MARKS
                                            Assistant Federal Defender
22                                          Attorney for Defendant CLEMENTE CRUZ

23   Dated: September 14, 2011              /s/ Dina L. Santos
                                            DINA L. SANTOS
24                                          Attorney for Defendant
                                            ARMANDO GARCIA ALEMAN
25
                                            BENJAMIN B. WAGNER
26                                          United States Attorney
27   Dated: September 14, 2011              /s/ William Wong
                                            WILLIAM WONG
28                                          Assistant United States Attorney
                                            Attorney for Plaintiff

                                           -2-
            Case 2:10-cr-00354-EJG Document 37 Filed 09/16/11 Page 3 of 3


 1
                                       ORDER
 2
          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
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     ordered that the September 16, 2011,         status conference hearing be
 4
     continued to October 7,2011, at 10:00 a.m.        Based on the representation
 5
     of defense counsel and good cause appearing there from, the Court
 6
     hereby finds that the failure to grant a continuance in this case would
 7
     deny defense counsel reasonable time necessary for effective
 8
     preparation, taking into account the exercise of due diligence.        The
 9
     Court finds that the ends of justice to be served by granting a
10
     continuance outweigh the best interests of the public and the defendant
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     in a speedy trial.   It is ordered that time up to and including the
12
     October 7, 2011 status conference shall be excluded from computation of
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     time within which the trial of this matter must be commenced under the
14
     Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and
15
     Local Code T-4, to allow defense counsel reasonable time to prepare.
16
     Dated: September 15, 2011
17
                                            /s/ Edward J. Garcia
18                                          EDWARD J. GARCIA
                                            Senior United States District Judge
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